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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION


   ANTHONY TELLIS, ET AL.                              CASE NO. 5:18-CV-00541

   VERSUS                                              JUDGE ELIZABETH E. FOOTE

   JAMES M. LEBLANC, ET AL.                            MAGISTRATE JUDGE HORNSBY

                                      MINUTES OF COURT:
                                Bench Trial – Day 1 (held via zoom)
    Date:               January 10, 2022 Presiding:             Judge Elizabeth E. Foote
    Court Opened:       9:00 a.m.         Courtroom Deputy: Kathy Keifer
    Court Adjourned:    5:21 p.m.         Court Reporter:       Jodi Terry
    Statistical Time:   07:30             Courtroom:            Zoom Recording


                                        APPEARANCES

    Melanie Bray, Jonathan Trunnell, Emma        For      Advocacy Center of Louisiana, Bruce
    Douglas, Katie Schwartzmann,                          Charles, Carlton Turner, et al.
    Kyle Potts, Elizabeth Roussel,
    Nishi Kumar, Jamila Johnson,                          and all similarly situated prisoners
    Rebecca Ramaswamy                                     at DWCC, Plaintiffs


    Connell Archey, Randal Robert,               For      James M. LeBlanc,
    Keith Fernandez, Madaline King                        Jerry Goodwin,
                                                          LA Dept of Public Safety &
                                                          Corrections, Lonnie Nail, Gregory
                                                          Seal, Deborah Dauzat, Aerial
                                                          Robinson, Johnie Adkins, Steve
                                                          Hayden, Defendants

    Jonathan Ray Vining, General Counsel         For      LA Dept of Public Safety &
                                                          Corrections, Defendant


   PROCEEDINGS

   Opening Statements
   Testimony/Evidence for Plaintiffs began
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   RULINGS/COMMENTS:

   This trial is being held via zoom video conference.

   Before opening arguments, the Court resolved several outstanding issues. First, the Court
   stated for the record the reasons it denied Defendants’ motion to interview potential class
   members. See Record Documents 503 & 507. In sum, the Court denied Defendants’ motion
   because (1) the Rules of Professional Conduct prohibit a lawyer from directly contacting a
   person he knows to be represented by another attorney absent a court order and (2)
   Defendants’ request came too late. Defendants’ request came merely 2.5 weeks before trial as
   the parties were attempting to meet their pre-trial deadlines, so there was insufficient time to
   arrange an interview where counsel for both sides could be present. This matter has been
   pending since 2018 and had an extended discovery period, so there was ample time to depose
   any witness and/or party.

   Next, the Court ruled that Plaintiffs will be able to use the ARPs to show notice of a potential
   issue and a potential duty to investigate the alleged issue.

   The Court then overruled Defendants’ pending objection as to nine photographs. See Record
   Document 482 at 181. Previously, the Court deferred ruling on the admissibility of nine
   photographs that Defendants objected to as not being in compliance with a prior order of the
   Magistrate Judge. The order prohibited the photos from being close-ups of doors or any lock
   apparatus on any doors. Record Document 223. After a discussion with the Magistrate Judge
   and reviewing the relevant filings and order, the Court found that the nine photographs
   complied with that directive. The Court stated that Defendants’ interpretation of the order was
   overly strict because the purpose of the prohibition was to ensure security. The photographs at
   issue do not pose a security risk.

   The Court also limited Defendants’ use of the Liman Survey (Defense Exhibit 50) and other
   Literature Exhibits (Defense Exhibits 51-56) to Federal Rule of Evidence 803(18).

   Defendants confirmed that they had an opportunity to review the original envelopes received
   by Disability Rights. Defendants reserved their objection as to potential hearsay statements on
   the envelopes.

   The parties stipulated to the testimony of Leah O’Brien and Chelsea Orman. The parties
   provided the written Stipulated Testimony of each to the Court, and each Stipulated Testimony
   will be filed as exhibits.

   Further, the parties agreed to enter deposition transcripts in lieu of calling Dr. Bruce Fuller and
   Mr. Johnie Adkins, Defendants.

   Plaintiffs objected to exhibits with highlights shown by Defendants. The Court advised the
   parties that they would submit their versions of all exhibits admitted during the trial to the
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   Court at the end of the proceedings. Defendants shall submit unmarked copies of the exhibits
   at such time.

   Opening statements were presented by both parties, and Plaintiffs began their case-in-chief.

   On a daily basis, each party will exchange with the other side a list of exhibits which that party
   understands were admitted into evidence that day. The receiving side shall check the
   submission for accuracy. The parties then shall submit to Ms. Keifer the agreed-upon list of
   admitted exhibits, which will be attached to the minutes each day.

   Court adjourned at 5:21 p.m. and will resume at 9:00 a.m. on Tuesday, January 11, 2022.
